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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN




 Timothy King, et al.,

                                    Plaintiff(s),
 v.                                                     Case No. 2:20−cv−13134−LVP−RSW
                                                        Hon. Linda V. Parker
 Gretchen Whitmer, et al.,

                                    Defendant(s),



                           NOTICE OF DETERMINATION OF MOTION
                                WITHOUT ORAL ARGUMENT

      The following motion(s) have been filed:

                  Motion for TRO − #7
                  Motion to Seal − #8
    Pursuant to Eastern District of Michigan LR 7.1(f)(2), the motion(s) will be determined by
 District Judge Linda V. Parker without oral argument.

    Response and reply briefs shall be filed in accordance with Eastern District of Michigan LR
 7.1(e).

      Courtesy copies are not required.




                                       Certificate of Service

    I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
 record were served.

                                                 By: s/R Loury
                                                     Case Manager

 Dated: December 6, 2020
